Case 1:22-cv-10019-JSR Document 136-11 Filed 05/12/23 Page 1 of 2




                 EXHIBIT 11
     Case 1:22-cv-10019-JSR Document 136-11 Filed 05/12/23 Page 2 of 2


 Case No.                         Caption                  Jurisdiction
19-cv-07772       Priscilla Doe v. Darren K Indyke et al     SDNY
19-cv-07675        Doe 1 et al v. Jeffrey Epstein et al      SDNY
19-cv-10475                Farmer v. Indyke et al            SDNY
               Araoz v. The New Albany Company, LLC et
22-cv-00125                                                  EDNY
                                     al
                 Ava Cordero aka Maximilla Cordero v.
113903/2007                                                NY Sup. Ct.
                                Epstein et al
952002/2022         Cheri Pierson v. Leon Black et al      NY Sup. Ct.
08-cv-80811               C.M.A. v. Epstein et al           S.D. Fla.
08-cv-80804                 Doe v. Epstein et al            S.D. Fla.
20-cv-00484                 Doe v. Indyke et al              SDNY
155262/2021                  Ganieva v. Black              NY Sup. Ct.
09-cv-80656               Doe No. 102 v. Epstein            S.D. Fla.
15-cv-07433                 Giuffre v. Maxwell               SDNY
19-cv-03377                Giuffre v. Dershowitz             SDNY
21-cv-06702              Giuffre v. Prince Andrew            SDNY
16-cv-07673                 Doe v. Trump et al               SDNY
16-cv-04642                 Doe v. Trump et al               SDNY
17-cv-00616            Jane Doe 43 v. Epstein et al          SDNY
19-cv-10577              Doe 1000 v. Indyke et al            SDNY
19-cv-08673                 Doe v. Indyke et al              SDNY
21-cv-80589                 Doe v. Indyke et al             S.D. Fla.
08-cv-80893                  Doe v. Epstein                 S.D. Fla.
09-cv-80469               Doe II v. Epstein et al           S.D. Fla.
08-cv-80380               Doe No. 4 v. Epstein              S.D. Fla.
08-cv-80381                Doe No. 5 v. Epstein             S.D. Fla.
09-cv-80591               Doe No. 101 v. Epstein            S.D. Fla.
08-cv-80119                   Doe v. Epstein                S.D. Fla.
08-cv-80994            Jane Doe No. 6 v. Epstein            S.D. Fla.
08-cv-80993            Jane Doe No. 7 v. Epstein            S.D. Fla.
08-cv-80802             Jane Doe No. 8 v. Epstein           S.D. Fla.
08-cv-80232                Doe No. 3 v. Epstein             S.D. Fla.
20-cv-11106               Doe XX v. Indyke et al             SDNY
20-cv-11110               Doe XXI v. Indyke et al            SDNY
20-cv-05069               Kaufman v. Indyke et al            SDNY
19-cv-07771           Doe v. Darren K. Indyke et al          SDNY
19-cv-07773           Doe v. Darren K. Indyke et al          SDNY
21-cv-03876                 Doe v. Indyke et al              SDNY
10-cv-81111                  J. v. Epstein et al            S.D. Fla.
19-cv-10788               Davies v. Indyke et al             SDNY
19-cv-10476                 Helm v. Indyke et al             SDNY
19-cv-07625        VE v. Nine East 71st Street et al         SDNY
